Case 1:19-cv-02426-DLC Document97 Filed 01/29/20

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DOWNTOWN MUSIC PUBLISHING LLC, OLE MEDIA
MANAGEMENT, L.P., BIG DEAL MUSIC, LLC, :
CYPMP, LLC, PERER INTERNATIONAL CORPORATION, :
PSO LIMITED, PEERMUSIC LTD., PEERMUSIC IIT,:
LTD., PBERTUNES, LTD., SONGS OF PEER LTD.,
RESERVOIR MEDIA MANAGEMENT, INC., THE
RICHMOND ORGANIZATION, INC., ROUND HILL
MUSIC LLC, THE ROYALTY NETWORK, INC. ULTRA
INTERNATIONAL MUSIC PUBLISHING, LLC, TUNE

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ORDER

 

 

CORE, INC., RALEIGH MUSIC PUBLISHING LLC,
ME GUSTA MUSIC, LLC, STB MUSIC, INC., and
GREENSLEEVES PUBLISHING LIMITED,

Plaintiffs, 2 F232

 

 

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PELOTON INTERACTIVE, INC.,

Defendant.

PELOTON INTERACTIVE, INC.,

Counterclaimant,
-V¥r

PUBLISHERS ASSOCIATION,
MUSIC, LLC, CYPMP, LLC,
PUBLISHING LLC, PSO LIMITED, :
PEERMUSIC III,
LTD.,

NATIONAL MUSIC
INC., BIG DEAL
DOWNTOWN MUSIC
PEER INTERNATIONAL CORP.,
LTD., PERRMUSIC, LTD., PRERTUNES,
RESERVOIR MEDIA MANAGEMENT, INC,, ROUND
HILL MUSIC LLC, SONGS OF PEER, LTD., THE
RICHMOND ORGANIZATION, INC., THE ROYALTY
NETWORK INC., ULTRA INTERNATIONAL MUSIC
PUBILSHING, LLC, and OLE MEDIA MANAGEMENT,

L.P.y

Counterdefendants.

 
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DENISE COTE, District Judge:

An Opinion and Order filed earlier today was misdated
January 29, 2019. It is hereby

ORDERED that an Opinion and Order with today’s date,
January 29, 2020, replaces the misdated Opinion and Order.

Dated: New York, New York
January 29, 2020

DENISE COTE
United States District Judge

 
